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1    JOSEPH J. WISEMAN, ESQ., CSBN 107403
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2       1477 Drew Avenue, Suite 106
        Davis, California 95618
3       Telephone: 530.759.0700
        Facsimile:    530.759.0800
4    Attorney for Defendant
5    KEOUDONE PHAOUTHOUM
6

7                             IN THE UNITED STATES DISTRICT COURT
8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
9                                        SACRAMENTO DIVISION
10
                                                       )
11   UNITED STATES OF AMERICA,                         )       Case No. CR S 08-389, 08-390, 08-391,
                                                       )
12                               Plaintiff,            )       08-392 GEB
                                                       )
13           vs.                                       )
                                                       )
14                                                     )       STIPULATION AND ORDER TO
                                                       )       CONTINUE SENTENCING
15   KEOUDONE PHAOUTHOUM; et al.,                      )
                                                       )
16                                                     )
                                 Defendants.           )
17                                                     )
                                                       )
18

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20
             It is hereby stipulated and agreed to between Plaintiff, UNITED STATES OF
21
     AMERICA, through its counsel of record, Michael M. Beckwith, Assistant United States
22
     Attorney, and Defendant, KEOUDONE PHAOUTHOUM, through his counsel of record,
23
     Joseph J. Wiseman, and without objection from the United States Probation Officer
24
     assigned to this case, that the sentencing of Defendant now scheduled for January 28,
25
     2011, at 9:00 a.m., be rescheduled to March 11, 2011, at 9:00 a.m.
26
                     The parties are entering into this Stipulation to provide additional time for
27
     /////
28


     _________________________________________________________________________________________________
     Stipulation and Proposed Order to Continue Sentencing                 Case No. CR S CRS 08-389-392 GEB

                                                           1
                       Case 2:08-cr-00389-TLN Document 144 Filed 01/12/11 Page 2 of 2



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     counsel to travel to Butte County to meet with defendant to review the new PSR with
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     counsel and interpreter.
3

4

5
     Dated: January 10, 2010                                 Respectfully submitted,
6
                                                             JOSEPH J. WISEMAN, P.C.
7

8                                                            By: __/s/ Joseph J. Wiseman__
                                                                   JOSEPH J. WISEMAN
9
                                                                   Attorney for Defendant
10                                                                 KEOUDONE PHAOUTHOUM

11   Dated: January 10, 2010                                 BENJAMIN B. WAGNER
                                                             United States Attorney
12

13                                                           By:          /s/ Michael M. Beckwith
                                                                       MICHAEL M. BECKWITH, AUSA
14                                                                     Attorney for Plaintiff
                                                                       UNITED STATES OF AMERICA
15

16                                                           ORDER

17
                             GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT the
18
     sentencing in the above-captioned case be continued to March 11, 2011 at 9:00 a.m.
19
     Date: 1/11/2011
20
                                                                         _________________________
21
                                                                         GARLAND E. BURRELL, JR.
22   DEAC_ Signatu re-END:
                                                                         United States District Judge

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     61khh4bb
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     Stipulation and Proposed Order to Continue Sentencing                           Case No. CR S CRS 08-389 GEB

                                                                   2
